     Case 1:22-cv-00669-PAB-GPG Document 4 Filed 03/17/22 USDC Colorado Page 1 of 1


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       District
                                                 __________     of Colorado
                                                             District of __________

                          Jozsef Daru                             )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 1:22-cv-00669-LTB
                                                                  )
        Hyatt Corporation d/b/a Grand Hyatt Vail                  )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Hyatt Corporation d/b/a Grand Hyatt Vail
                                       c/o United States Corporation Company, registered agent
                                       1900 W. Littleton Blvd
                                       Littleton, CO 80120




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Gary Martoccio
                                       Spielberger Law Group
                                       4890 W. Kennedy Blvd, Suite 950
                                       Tampa, FL 33609


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:
                                                                                      Signature of Clerk or Deputy Clerk
